      Case 8:25-cv-00337-BAH             Document 68     Filed 02/18/25     Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
__________________________________________
                                             )
PFLAG, INC., et al.,                         )
                                             )
                              Plaintiffs,    )
                                             )
                      v.                     )   Civil Action No. 8:25-cv-337-BAH
                                             )
DONALD J. TRUMP, in his official capacity as )
President of the United States, et al.,      )
                                             )
                              Defendants.    )
__________________________________________)

                                 JOINT STATUS REPORT

      1. In accordance with this Court’s February 13, 2025 Order, the parties file this status

         report with proposed briefing schedules on Plaintiffs’ forthcoming motion for a

         preliminary injunction. Temp. Restraining Order, ECF No. 61 (Feb. 13, 2025).

      2. Plaintiffs propose the following schedule, under which the court’s temporary

         restraining order (TRO) would be extended by 14 days to Thursday, March 13, 2025.

         See Fed. R. Civ. P. 65(b)(2).

             Preliminary injunction motion filed on Tuesday, February 18.
             Government's opposition due on Friday, February 28.
             Plaintiff's reply due on Friday, March 7.
             Hearing on or before Thursday, March 13, if the court decides a hearing is
             needed.

      3. Defendants oppose an extension of the TRO, which expires on Friday, February 27,

         2025, see id., and offer the following briefing schedule.

             Preliminary injunction motion filed on Tuesday, February 18.
             Government’s opposition due by 12:00pm ET on Tuesday, February 25.
             Plaintiff's reply due by 6:00pm ET on Wednesday, February 26.

      4. Defendants do not believe a hearing on Plaintiffs’ preliminary-injunction motion is

         necessary and accordingly do not request a hearing.
       Case 8:25-cv-00337-BAH         Document 68       Filed 02/18/25    Page 2 of 2



       5. To the extent this Court chooses to extend the TRO over Defendants’ opposition,

          Defendants find Plaintiffs’ proposed schedule acceptable.



Dated: February 18, 2025                   Respectfully submitted,

                                           BRETT A. SHUMATE
                                           Acting Assistant Attorney General

                                           MICHELLE BENNETT
                                           Assistant Branch Director

                                           /s/ Vinita B. Andrapalliyal
                                           VINITA B. ANDRAPALLIYAL
                                           CHRISTIAN S. DANIEL
                                           Trial Attorneys
                                           United States Department of Justice
                                           Civil Division, Federal Programs Branch
                                           1100 L Street NW
                                           Washington, DC 20530
                                           Tel.: (202) 305-0845
                                           vinita.b.andrapalliyal@usdoj.gov

                                           Counsel for Defendants


                                           /s/ Omar Gonzalez-Pagan
                                           Omar Gonzalez-Pagan*
                                           Lambda Legal Defense
                                              and Education Fund, Inc.
                                           120 Wall Street, 19th Floor
                                           New York, NY 10005
                                           Telephone: (212) 809-8585
                                           Facsimile: (855) 535-2236
                                           ogonzalez-pagan@lambdalegal.org

                                           Counsel for Plaintiffs

                                           * Admitted pro hac vice.
